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                                              RUSSELL JAMES RAMSLAND, Jr.

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Professional Summary
Unusual breadth of experience as a Senior Management Executive with MBA in both start-up and private company
environments. Background includes international and domestic experience, oil and gas exploration and production, advanced
converged telecom, highly advanced semiconductor materials, hospitality, commercial real estate development & operation,
investment banking and service industries.

Professional Experience
Allied Special Operations Group, LLC. – Addison, Texas                                                   2017 –present
Co-Founder
ASOG is a group of globally engaged professionals who come from various disciplines that includes Department of Defense,
Secret Service, Department of Homeland Security, the Central Intelligence Agency and others. It offers services cybersecurity
services, safety and security training, personal protection CONUS and OCONUS, Open Source Investigations, and two mission
projects centered on the US Elections system and human trafficking.

Independent Consultant – Dallas, Texas                                                                   2003 – 2017
General business consulting with a variety of clients and industries including oil and gas exploration, architectural firms,
interiors design firms, printing companies, hospitality industry and real estate. Advise on strategic and operational issues,
mergers and acquisitions, and financial performance enhancement.

SandStream, Inc. – Lewisville, Texas                                                                       1999–2003
CFO/VP Finance/Board of Directors
Start-up company developed a fully interactive, converged service consisting of DVD quality streaming video, voice and data
using IP and Ethernet over a fiber network. Responsible for all aspects of finance, accounting and legal departments. Worked
closely with CEO on strategic planning and direction. Developed a new model for fiber-to-the-home deployments that saved
40% over traditional practices while supporting a 10% greater initial service offering. Patent application was filed and was
named co-inventor. Conducted numerous private placement offerings of common and preferred securities with financial and
strategic investors including Nortel Networks, Cisco Systems and Texas Instruments. Total amount of financing was $70
million. Primary negotiator for company’s senior secured and subordinated debt facilities. Company achieved a valuation in
excess of $250 million.

Capital Alliance Corp. - Dallas, Texas                                                                    1996-1999
Vice President
A 39 year old investment banking firm based in Dallas, Texas specializing in middle market Mergers and Acquisitions with
annual transaction volume of approximately $200 million at the time. Participated in the successful launch of the International
Division in 1996-97. Developed new business, structured financial transactions, sourced funds and negotiated on behalf of
clients with banks and investors in the US and Mexico. Represented a variety of industries including telecommunications,
tourism, healthcare, electrical contracting, construction, banking and oil and gas exploration.

Grandactual Ltd. dba “The Texas Embassy Cantina” – London, England                                      1994-2012
Co-founder, Principal and Director
The Texas Embassy Cantina® on Trafalgar Square in London, England was Europe’s highest grossing Tex-Mex restaurant and
evolved into a brand name recognized worldwide. Responsibilities included operations oversight, development of MIS reports,
investor relations and marketing. Negotiated the sale of the venture after 18 years of operation

Microgravity Research Associates, Inc. – Huntsville, Alabama                                                  1980-1992
Co-Founder, Director, CEO
This start-up company developed a unique Liquid Phase Electroepitaxial approach to grow very advanced III-V semiconductor
materials as binaries, ternaries and quaternaries, first in the low gravity environment of space and later terrestrially for use in
very advanced sensors and detectors as required by NASA and U.S. Department of Defense. Negotiated the nation's first Joint
Endeavor Agreement (JEA) with NASA that pioneered a new form of partnership between the United States government and a
private firm. Worked in concert with various entities of the Reagan White House, M.I.T., NASA (Marshall Space Flight
Center), Boeing, Teledyne Brown and C. Itoh (Japan).
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Dinero Companies - Midland, Texas                                                                    1979-Present
Chairman, Director
Family based oil and gas exploration and production company based in Midland, Texas. Company has drilled and operated in
8 states, Canada and offshore Ecuador and was early pioneer in the search to develop shale oil bearing zones. In 2006,
company was in the top 50 largest gas producers in the State of New Mexico. Over the years the company has had over 600
private partners with varying interest in several hundred wells.

Tuku Tuku Ranch – Formerly the Island of Efate, New Hebrides                                            1976-1977
Leader of Evaluation/Due Diligence Team
Consultant to consortium of private individuals formed to establish a cattle ranching operation on Efate, New Hebrides in
conjunction with a proposed Japanese fleet of processing ships supplying beef to Japanese mainland.

Blue Seas Shipping Co. – London, England & Riyadh, Saudi Arabia                                     1975-1977
Chief Financial Strategist
Consultant to consortium of private individuals, the C.T. Bowring Group of London and Sheikh Jamil Khogeer of Mecca,
Saudi Arabia that was formed to establish a Saudi flag carrier for shipping transport of crude oil.

Honorable George W. Mahon – U.S. HOUSE OF REPRESENTATIVES                                               1974
Chairman Mahon and the House Appropriations Committee
Researched and reported to the Chairman in areas of oil & gas legislation and defense.


PROFESSIONAL AND CIVIC ACTIVITIES – Past & Present
Present
Member of Finance Committee of Park Cities Presbyterian Church
State Delegate to 5 Republican Conventions
Election Judge & Poll Watcher
Board of Directors - PhotonX, Inc.

Past
2016 Candidate for U.S. House of Representatives – CD-32 Texas
Founder and Leader of 1,200+ member Park Cities/Preston Hollow Leadership Forum dedicated to the political education of its
  members.
Precinct Chairman – several years
Member of the Society of International Business Fellows
Chairman and member of Finance Committee of Park Cities Presbyterian Church
Deacon at Park Cities Presbyterian Church - Dallas
Board of Directors – Permian Basin Petroleum Association
Co-founder of Young Producer’s Forum (oil and gas)
Member of U.S. Department of Transportation’s Commercial Space Transportation Advisory Committee (COMSTAC)
Member of National Chamber of Commerce (Washington) Space Policy Task Force
Member of Advisory Board of Main Hurdman’s Space Industry Consulting Group
Member of U.S. Office of Technology Assessment Space Law Task Force
Consultant to NASA 1978-79
Invited speaker at Harvard University, M.I.T, the New York Society of Securities Analysts, International Space Conference at
  Montreux, Switzerland, and others.


ACADEMIC BACKGROUND
Harvard Graduate School of Business - M.B.A 1979
Duke University - B.A. - Political Science 1975
